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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


  UNITED STATES OF AMERICA,                  )
            Plaintiff,                       )
                                             )
        vs.                                  )    CAUSE NO. 1:07-cr-0012-WTL-DKL
                                             )
  MELISSA GIBSON,                            )
            Defendant.                       )



                ORDER ADOPTING REPORT AND RECOMMENDATION

       Having    reviewed    Magistrate   Judge     Denise   K.    LaRue=s   Report   and

 Recommendation that Melissa Gibson=s supervised release be revoked, pursuant to Title

 18 U.S.C. '3401(i), Rule 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18

 U.S.C. '3583, the Court now approves and adopts the Report and Recommendation as

 the entry of the Court, and orders a sentence imposed of imprisonment of 6 months in the

 custody of the Attorney General, with no supervised release to follow. Ms. Gibson is to

 be taken into immediate custody.

       SO ORDERED this 16th day of June, 2014.




                                                 _______________________________
                                                 Hon. William T. Lawrence, Judge
                                                 United States District Court
                                                 Southern District of Indiana
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